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AMERICAN NATIONAL MORTGAGE, INC.,
Plaintiff,
No. 99-3061-D

V.

WILLIAM N. GRIFFIN, et al.

V*_/\_¢i-i\_/\_d\_/VV

Defendants.

 

ORDER DENYING DEFENDANTS WILLIAM N. GRIFFIN AND
GRIFFIN, CLIF'I`, EVERTON & THORNTON, PLLC’S
MOTION FOR SUMMARY JUDGMENT (Dkt #206)

 

Bei`ore the Court is a motion for summary judgment by William N. Griffin (“Griffin”) and
Grif`fin, Clitt, Everton & Thornton, PLLC (“Grift'in-Clift”), (collectively “Defendants”). For the
reasons stated below, the Court DENIES Defendants’ motion for summary judgment
I. FACTUAL BACKGROUND1

American National Mortgage, Inc. (“Plaintiff” or “ANM”), a Tennessee real estate mortgage
corporation, filed this action on December 3, 1999, alleging that Griffin, a practicing attorney in the
state of Tennessee, and Griffm-Clift, a 'l`ennessee law tirm, conspired to defraud it through a
knowing engagement in a “property-flipping” scheme, Whereby real property Was bought from a

legitimate seller and then sold on the same day or within a short period of time at artificially inflated

 

l 'l`he facts are taken from Plaintiff’s complaint, the deposition of Barney L. Matthew,
president of ANM, and the memoranda in support of and in opposition to Plaintift’ s motion for
summary judgment

 
 
 

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prices. All loan financing on the subject properties was provided by ANM. Griffm, acting
independently or through Griff`m-Clift, was the closing agent for Plaintiff on the real estate closings.

In November 1997, Plaintiff provided first mortgage loans on approximately 139 separate
properties in Tennessee in this matter. The alleged property-flipping scheme involved two distinct
transactions as to each of the 139 properties, whereby the property was bought from a bonafide seller
at fair market value by one of the buyers (“Transaction 1”). On the same day, or in close proximity
in time, a second transaction (“Transaction 2”) occurred pursuant to the same property at a price
inflated through the use of an alleged false or inflated appraisal valuation submitted by Defendant
Ann Baker d/b/a Ann Baker & Associates. Barney Mathews, ANM’s president, stated in his
deposition that many of these mortgages were bundled and sold to sub-prime investors.

ANM asserts that the HUD-l Settlement Statements, prepared by Griffin and sent to Plaintiff
f`or the closing of each loan, contained false or fraudulent information Plaintiff further alleges that
Griffin knew that the HUD-l Settlement Statements Were false and made these statements for the
purpose of inducing Plaintiff to ftmd and close the corresponding loans. Additionally, Plaintiff
claims that the Title Commitments, prepared by Defendant, Security 'I`itle Company, ]ne.
(“Security”) and issued by Griffin, were also used to conceal from Plaintiff the fact that each of the
subject properties had been closed twice within a short period of time, and that the property sold for
a significantly higher price the second time. Plaintiff claims that the property-flipping scheme left
it severely under-collateralized for all of the loans it issued for these properties and that it has lost
the ability to do business, warehouse lines of credit, and that some of its lenders and investors have

demanded repurchase of the subject loans.

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II. SUMMARY JUDGMENT STANDARD

Summary judgment is proper “if the pleadings, depositions, answers to interrogatories, and
admissions on file, together with the affidavits, if any, show that there is no genuine issue as to any
material fact and that the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ.
P. 56. In other words, summary judgment is appropriate when there are no genuine issues of
material fact and the moving party is entitled to judgment as a matter of law. Lc_l_._ As such, summary
judgment is appropriately granted “against a party who fails to make a showing sufficient to establish
the existence ofan element essential to that party’s case, and on which that party will bear the burden
of` proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986].

ln evaluating a motion for summary judgrnent, all the evidence and facts must be viewed in
a light most favorable to the nonmoving party. Matsushita Elec. Indus. Co. v. Zenith Radio Com.,

475 U.S. 574, 587 (1986); Wade v. Knoxville Utilities Bd., 259 F.3d 452, 460 (6th Cir. 2001).

 

Once a properly supported motion for summary judgment has been made, the “adverse party may
not rest upon the mere allegations or denials of [its] pleading, but . . . must set forth specific facts
showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e). A genuine issue for trial exists
if the evidence would permit a reasonable jury to return a verdict for the nonmoving party. Anderson
v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). 'l`o avoid summary judgment, the nonmoving party
“must do more than simply show that there is some metaphysical doubt as to the material facts.”
Matsushita, 475 U.S. at 586.
III. ANALYSIS

ANM alleges that the Defendants violated the Racketeer Influenced and Corrupt Organization

Act (“RICO”), 18 U.S.C. § 1961, et seg., with claims that the Defendants committed the predicate

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acts of mail fraud (18 U.S.C. § 1341), fraud by wire, radio, or television (18 U.S.C. § 1343), bank
fraud (18 U.S.C. § 1344), money laundering (18 U.S.C. § 1956), and engaging in a monetary
transaction in property derived from specific unlawful activity (18 U.S.C. § 1957). Further, ANM
claims that Defendants conspired in violation of 18 U.S.C. § 1962(d) and committed fraud,
conversion, negligent misrepresentation, and breach of fiduciary duty in violation of the'common
law of Tennessee. The Court has jurisdiction under 28 U.S.C. § 1331 and 18 U.S.C. § 1964, with
resulting supplementary jurisdiction over Plaintiff’ s state law claims pursuant to 28 U.S.C. § 1367.
A. RICO, Conspiracy, and Fraud
Defendants assert that Plaintiff’ s RICO cause of action under § l962(c) should be dismissed
because the predicate offenses Plaintist assert involve fraud and Plaintiff s actual knowledge
precludes it from any recovery based on fraud. Plaintiff argues that Defendants’ summary judgment
motion is premature because it was filed eight months before the December 15, 2005 discovery
deadline and, as a result, Plaintiff has not had a hill opportunity to conduct discovery in this matter.
Section l964(c) allows for civil enforcement of RlCO’s provisions:
Any person injured in his business or property by reason of` a
violation of section 1962 of this chapter may sue therefore in an
appropriate United States district court and shall recover threefold the
damages he sustains and the cost of the suit, including a reasonable
attomey’s fee.
Section 18 U.S.C. § 1962(d) provides in pertinent part that it shall be unlawful for any person
to conspire to violate any of the provisions of subsection (a), (b), or (c) of this section. To plead a

violation of § 1962(c), a plaintiff must allege “(l) conduct (2) of an enterprise (3) through a pattern

(4) of racketeering activity.” M Sedima S.P.R.L. v. Imrex Co., 473 U.S. 479, 496 (1985).

 

“Racketeering activity” is the commission of specific predicate acts for which a defendant could be

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convicted. _I_Q at 488. A “pattern of racketeering activity” requires at least two such acts. 18 U.S.C.
§ 1961(5). The Sixth Circuit has defined a RICO enterprise as “any individual, partnership,
corporation, association, or other legal entity, and any union or group of individuals associated in
fact although not a legal entity.” 18 U.S.C § 1961(4). §e§ Beard v. Worldwide Mortgage Co;p., 354
F.Supp.2d 789, 798 (W.D. Tenn. 2005) (citing VanDenBroeck v. CommonPoint Mortg. Co., 210
F.3d 696, 699 (6th Cir. 2000)); Advocacv Org. for Patients and Providers v. Auto Club Ins. Assoc.,
176 F.3d 315, 322 (6th Cir. 1999). Any predicate act which requires an allegation of fraudulent
conduct must meet Fed.R.Civ.P. 9(b)’s particularity requirement

Defendants cite Coffey v. Foamer L.P., 2 F.3d 157 (6th Cir. 1993), to address Plaintiff` s §
1962 (c) claim and its predicate acts. ln QQ_ff_ey, workers and wives brought a Tennessee common
law action against employers for fraudulent misrepresentation upon workers by failing to warn them
of dangers The gofo Court held that a plaintiff could not recover in an action based on fraud
regarding any matter of which he or she had actual knowledge because there is no deception w
Co_f`f`ey, 2 f.3d at 162 (citing Pusser v. Gordon, 684 S.W.2d 639, 641 (Tenn. Ct. App. 1984)). On a
motion to dismiss, the QQHy Court held that the complaint was vague as to which specific acts or
omissions of the defendants amounted to fraudulent misrepresentation M, 2 F.3d at 162 (the

allegation that “defendants . . . actively practiced fraud upon the plaintiffs” is purely conclusory).

Defendants’ argument fails because its reliance on QLfev is misplaced Coffey was
concerned with supplemental jurisdiction over a Tennessee common law fraud claim, not a federal
RICO claim. Congress has clearly articulated the standard required to mount a RICO claim. This
Court declines to impose state common law principals of fraud into a RICO analysis Accordingly,

Defendants motion for summary judgment as to the claims under RICO are DENIED.

The Court will consider Coffey, however, in Defendants’ challenge to the fraud and

conspiracy claims. The Coffey case can be distinguished from the case at bar because this Court

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is availed a wider scope of material to consider in testing the veracity of Plaintiff’ s claim pursuant
to a motion for summary judgment as opposed to the motion to dismiss before the My Court
Substantively, Defendants argue that Plaintiff had access to documents that provided them with
actual knowledge regarding the multiple sale transactions on the subject properties The CLff`§y
Court stated that both “specific acts or omissions” are considered against claims predicated on
fraudulent intent _l_cl. (emphasis added). Defendants argue that none of the information contained
in the closing documents for the subject transactions were untrue. This does not, however, address
whether Defendants omitted information that it would have had a duty to submit to Plaintiff pursuant
to its fiduciary duty. This Court finds that Defendants’ motion for summary judgment as to
Plaintiff s conspiracy and fraud claims is unsupported because a genuine issue of material fact exists
as to whether Plaintiff had actual knowledge of the property-flipping scheme and whether
Defendants omitted information it had a duty to provide Plaintiff. Accordingly, Defendants motion

for summary judgment as to these conspiracy and fraud are DENIED.

B. Tennessee Common Law Claims

 

1. Breach of Fiducia§y Dugg

Defendants assert that the record does not support Plaintiff s allegation that they breached
their fiduciary duty because Defendants performed their duties in accordance with Plaintiff s requests
and Plaintiff had knowledge of the transactions Plaintiff alleges that Griffin, and/or Griffin-Clift,
were agents of Plaintiff during the relevant period and that Defendants breached their fiduciary duties
by not disclosing the existence of the property-flipping scheme , which Plaintiff asserts was the

proximate cause of the damages it has allegedly suffered.
The Tennessee Supreme Court in Jenkins lnsurance provided that:

“An agent is a fiduciary with respect to the matters within the scope of his agency
The very relationship implies that the principal has reposed some trust or confidence
in the agent and the agent or employee is bound to the exercise of the utmost faith,
loyalty, and honesty toward his principal or employer.”

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Knox-Tenn Rental Co. v. Jenkins lns. Inc., 755 S.W.2d 33, 36 (Tenn.1988) (citing 3 Arn.Jur.Zd
Agency, § 210, p. 713). _Sg also Alexander v. Inman, 974 S.W.2d 689, 693-94 (Tenn. 1998)

(internal quotations and citations omitted).

Griffin and/or Griffin-Clih served as the closing agent for each loan closing transaction The
fiduciary relationship between attorney and client is well established Plaintiff alleges that
Defendants’ fiduciary duty obligated them to advise it of the alleged property-flipping scheme. In
Tennessee, a party’s failure to inform another, where there is a duty to do so based on a fiduciary
role, may lead to a cause of action for breach of fiduciary duty, w Faugl_tt V. Estate of Emma
Corine Faught, 730 S.W.2d 323, 327 (1987).

Defendants rely on the fact that Plaintiff reviewed and approved each HUD-l Settlement
Statement as a condition of closing each loan. In addition, Defendants point to the Supplemental
Closing lnstructions where Plaintiff required Gri ffin to comply with an enumerated list of tasks that
had to be completed in order for any loan to close. As Plaintiff’s fiduciary, Defendants owed
Plainti ff the utmost good faith in their dealings In substance, Defendants argue that they should not
be held to have a disclosure duty, only a duty to conform with the closing document forms and the
enumerated task list provided by the client The Court rejects this argument In Filght, the Court
held that a fiduciary’s role required co-executors to disclose all material facts within their knowledge
to each other, including values on all estate properties, before any co-executor executes a waiver
document relinquishing an interest Mght, 730 S.W.2d at 326. Like the wm defendants, in the
case at bar, Defendants were fiduciaries who had a duty to disclose in good faith, information as to
the transactions at issue and their potential legal ramifications to Plaintiff. As stated previously, the
Court finds that there is a genuine issue of material fact as to whether Plaintiff had actual knowledge
Accordingly, the Court DENIES Defendants’ motion for summary judgment as to Plaintiff’ s claim
for breach of fiduciary duty.

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2. Negligent Misrepresentation

Defendants argue that Plaintiff‘ s claim for negligent misrepresentation should be dismissed
because Defendants never supplied Plaintiff with faulty information Plaintiff asserts that
Defendants’ omission of material information, namely, the existence of the property'flipping

scheme, constituted negligent misrepresentation

Tennessee has adopted the definition of negligent misrepresentation that appears in section
552 of the Restatement (Second) of Torts. Robinson v. Omer, 952 S.W.2d 423, 427 (Tenn. 1997).
Pursuant to this definition even when there is no contractual privity between the plaintiff and the

defendant the plaintiff can recover by establishing that:
(l) the defendant is acting in the course of his business, profession, or employment

or in a transaction in which he has a pecuniary (as opposed to gratuitous) interest; and

(2) the defendant supplies faulty information meant to guide others in their business
transactions; and

(3) the defendant fails to exercise reasonable care in obtaining or communicating the
information; and

(4) the Plaintiffjustifiably relies upon the information
I_d. (internal quotations omitted).

Defendants challenge prong two and assert that no faulty information was provided because
all the information supplied was true. In order to carry out the alleged property-flipping scheme, it
is asserted that the HUD-l s represented sellers in Transaction 2 who did not yet have vested title to
the property at issue. §§ Depo. of Matthew. 140, 18-20. A competent closing attorney would not
close on property from a seller Who does not in fact own the property. Additionally, if Plaintiff did
not have knowledge of the property-flipping scheme and Defendants did, Defendants’ failure to
disclose would constitute faulty information pursuant to its fiduciary duty to disclose A genuine

issue of material fact exists as to whether faulty information was supplied, affirmatively or by

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omission Accordingly, the Court DENIES Defendants’ motion for summary judgment as to the

negligent misrepresentation claim.
3. Conversion

Defendants argue that Plaintiff’s claim for conversion should be dismissed because
Defendants never appropriated funds or fees that belonged to Plaintiff, but only received loan
proceeds due it pursuant to its contractual fee arrangement as the closing attorney on these
transactions Plaintiff asserts that Defendants are liable for conversion because from on or about
November 26, 1997, to the present Defendants unlawfully took and converted for its on use loan

proceeds on the subject properties

To establish a claim for conversion under Tennessee law, a plaintiff must show that the
defendant has “l) appropriated something belonging to the Plaintiff to its own use and benefit, 2)

by the exercise of dominion over it, 3) in defiance of the Plaintiff’ s right.” Mammoth Cave Credit

 

Ass’n v. Oldham, 569 S.W.2d 833, 836 (Tenn. Ct. App. 1977) (internal quotations and citations
omitted). Ordinarily, conversion can be maintained only if the party can show possession or right
to immediate possession of items converted at the time of the alleged conversion ld. The measure
of damages in a conversion action is the value of the property withheld by the defendant at the time

of the conversion, Barger v. Webb, 391 S.W.2d 664 (Tenn. 1965).

Assuming that the facts as alleged by Plaintiff are true, the excessive fees collected by
Defendants from the loans provided by Plaintiff in Transaction 2 constitutes assets belonging to

Plaintiff to which Defendants exercised dominion in defiance of the Plaintiff‘s right upon collecting
the allegedly excessive fees Accordingly, the Court DENIES Defendants’ motion for summary

judgment as to the conversion claim.

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IV. CONCLUSION

For the aforementioned reasons, the Court DENIES Defendants’ motion for summary

judgment as to all of Plaintiff s claims

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UNITED STATES DISTRICT COURT

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This notice confirms a copy of the document docketed as number 219 in
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